Case: 1:24-cv-06746 Document #: 5 Filed: 08/20/24 Page 1 of 4 PagelD #:23

AQ 44@ (Rev. 05/00) Summons in a Civil Action

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UNITED ST
NOR[HERN DISTRICTIOF ILLINDIS

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KECYA THURMAN
CASE NUMBER: 1:24-cv-06746
Vv. ASSIGNED JUDGE:
Hon. John Robert Blakey
ARBOR E & T, LLC d/b/a RESCARE DESIGNATED
WORKFORCE SERVICES MAGISTRATE JUDGE: Hon. J effrey Cole

TO: (Name and address of Defendant)

ARBORE& T, LLC

d/b/a RESCARE WORKFORCE SERVICES

cio REGISTERED AGENT

ILLINOIS CORPORATION SERVICE COMPANY
801 ADLAI STEVENSON DRIVE

SPRINGFIELD, IL 62703-4261

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (mame and address)

Mohammed O. Badwan

Sulaiman Law Group, Ltd.

2500 South Highland Ave., Suite 200
Lombard, Hlinois 60148

an answer to the complaint which is herewith served upon you, 2! days after service of this

summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable

period of time after service.

hay

Des Fig.

RS

\3) August 12, 2024

ee

(By) DEPUTY CLERK

DATE
Case: 1:24-cv-06746 Document #: 5

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Exhibit A
Case: 1:24-cv-06746 Document #: 5
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Exhibit B
~~ Ease: 1:24-cv-06746 Document #: 5 Filed: 08/20/24 Page 4 of 4 PageiD #26"

ClientCaselD: 76076 CaseReturnDate: 8/18/24

Affidavit of A PRIVATE INVESTIGATOR

UNITED STATES DISTRICT COURT, NORTHERN DISTRICT OF ILLINOIS

Case Number 4 -24.CY.6746
1, JOHN PENNELL

FIRST DULY SWORN ON OATH STATES THAT | AM OVER 18 YEARS OF AGE AND NOT A PARTY TO THIS SUIT AND
LICENSED AS 4 PRIVATE DETECTIVE {LICENSE # 115.002074) UNDER THE PRIVATE DETECTIVE ACT OF 2004,

CORPORATE SERVICE

THAT t SERVED THE WITHIN SUMMONS & COMPLAINT

ON THE WITHIN: NAMEO DEFENDANT ARBOR E & T, LLC.

PERSON SERVED BAYLON ELFGEN, AUTHORIZED AGENT

BY LEAVING A COPY OF EACH WITH THE SAID DEFENDANT ON 8/19/24

That the sex, race and approximate age ofthe whom | leftthe SUMMONS & COMPLAINT
are as follow:

Sex MALE Race WHITE Age 25 Height 63" Build 2504 Hair 8RN

LOCATION OF SERVICE 994 ADLAI STEVENSON DR.
SPRINGFIELD, IL, 62703

Date Of Service = BH 9/24 Time of Service 23:50 PM

JOHN PENNELL 8/18/2024
A PRIVATE INVE ATOR
PRIVATE DECTECTIVE # 115.002074

Under penalties of. perjury as provided by law pursuant to Section 1-109 of the Code of Civil Procedure, W ie undersigned /
Gertifies that the statement are tue and cormect, except as to matters therein stated to be on information afe.pelief and such
matters the undersigned cartifias as aforesaid that he/she verily believes same tq

